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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


UNITED STATES OF AMERICA,                   )
                                            )
               v.                           )       Case No. 1:21-cr-00245-AJT
                                            )
IGOR Y. DANCHENKO,                          )
                                            )
                       Defendant.           )

                DEFENDANT IGOR DANCHENKO’S MOTION
 IN LIMINE TO INTRODUCE PUBLIC STATEMENTS PUBLISHED AND ADOPTED
                       BY THE UNITED STATES

       Defendant Igor Danchenko, by and through counsel, moves in limine to admit statements

the Government made in publicly available guidance and training material posted on official

Government websites to advise witnesses about how to testify and answer questions. These

statements directly contradict the illogical prosecutorial theory employed here by the Special

Counsel and are relevant to and support Mr. Danchenko’s defense that he did not knowingly

provide false statements to the FBI. As discussed below, these statements are admissible because

they are relevant and not hearsay at all or, alternatively, because they fall into an enumerated

exception to the rule against hearsay.

                                         BACKGROUND

       The Special Counsel’s prosecution of Mr. Danchenko for false statements hinges on two

arguments that are contradicted by the material published by the government concerning witness

testimony and interrogation techniques. The Special Counsel alleges (1) that Mr. Danchenko is

guilty of false statements because he should have volunteered superfluous and unsolicited

information to the FBI rather than answer in a precise fashion the actual targeted questions that

agents asked him and (2) that Mr. Danchenko’s subjective reasoning that led him to “believe” that


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he may have spoken to Millian was designed to hinder, rather than to help investigators. Numerous

public statements by the United States directly contradict and undermine these positions and

support Mr. Danchenko’s defense that he interpreted investigators’ questions appropriately and

answered them truthfully.

       First, the Government, through the United States Department of Justice has repeatedly

published guidance that advises witnesses to listen carefully to the question presented, to answer

ONLY the questions asked, and not to volunteer information that is not actually requested. See,

e.g., United States Attorney’s Office for the Middle District of Pennsylvania Victim Witness

Assistance, “Tips for Testifying in Court” (https://www.justice.gov/usao-mdpa/victim-witness-

assistance/tips-testifying-court); United States Attorney’s Office for the Western District of

Wisconsin Victim/Witness Program, “Tips for Testifying” (https://www.justice.gov/usao-

wdwi/victimwitness-program/tips-testifying); United States Attorney’s Office for the District of

Alaska, “Tips for Testifying” (https://www.justice.gov/usao-ak/tips-testifying); National Institute

of Justice, “Eyewitness Evidence” (https://www.ncjrs.gov/nij/eyewitness/188678.pdf). Relevant

Excerpts Attached as Exhibit 1.

       Second, the Department of Justice also advises witnesses not to speculate or “make up an

answer” so as to avoid confusion. Id. Instead, the Department of Justice advises witnesses to be

clear and to admit when they do not know the answer to a question. Id. Additionally, the

Government, through the Federal Law Enforcement Training Centers, admonishes witnesses:

“Learn to listen,” “Make sure to carefully listen to the question presented before you answer,” “It

is important to answer only the question presented and then stop talking,” and “Do not volunteer

information. If a question can be answered with a simple yes or no, just respond in that way.” See

Federal Law Enforcement Training Centers Training Video, “Introduction and Basic Witness



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Skills” at 4:05 – 5:30 (https://www.fletc.gov/video/introduction-and-basic-witness-skills)

(emphasis added). Second, the Federal Law Enforcement Training Centers also advises witnesses

not to speculate because their testimony should be based upon their personal knowledge. Id.

       The Government published and endorsed these statements in official training materials and

publicly available guidance on official Government websites. These statements are admissible and

directly relevant to the prosecutorial theory espoused by the Special Counsel. They are also not

only relevant but fundamental to Mr. Danchenko’s defense.

                                          ARGUMENT

       To be relevant, evidence must have a tendency to make a fact more or less probable, and

that fact must be of consequence in determining the action. Fed. R. Evid. 401. “The governing

hypothesis of any criminal prosecution, for the purpose of determining relevancy of evidence

introduced, consists of elements of the offense charged and any relevant defenses raised to defeat

criminal liability.” United States v. Walker, 32 F4.th 377, 388 (4th Cir. 2022) (internal citations

and questions omitted).

       In addition to being relevant, there is no viable hearsay objection to admissibility of the

evidence at issue here – public statements by the United States Government on official websites.

The hearsay rules are designed to exclude unreliable out of court statements offered for their truth.

Hemphill v. New York, 142 S. Ct. 681, 693 (2022) (citing Fed. R. Evid. 802). The Special Counsel

cannot credibly argue that official Government guidance is unreliable or somehow unattributable

to the United Sates. Moreover, the evidentiary rules define various categories of evidence that are

not hearsay along with multiple enumerated exceptions to the general prohibition against hearsay.

See Fed. R. Evid. 801-807. Statements made by the Government in public guidance and training

materials to advise witnesses how to testify and answer questions are admissible because they are



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either not hearsay at all or, alternatively, they fall into an enumerated exception to the rule against

hearsay.

       A statement is not hearsay if it is not offered to prove the truth of the matter asserted in the

statement. Fed. R. Evid. 801(c). Here, Mr. Danchenko does not seek to litigate the truth or falsity

of the statements made by the Government in its public guidance and training materials. Instead,

Mr. Danchenko intends to proffer the statements to demonstrate that the Government published

and adopted the statements and that those statements contradict the prosecutorial theory presented

by the Special Counsel in this case. Bland v. Fairfax Cnty., Va., 2011 WL 2490995, at *4 (E.D.

Va. June 20, 2011) (citing United States v. Ayala, 601 F.3d 256, 272 (4th Cir.2010); Anderson v.

United States, 417 U.S. 211, 220 n. 8 (1974)) (noting that evidence is not hearsay when it is only

used to prove that a prior statement was made and not to prove the truth of the statement).

       Similarly, a statement by an opposing party is not hearsay. Fed. R. Evid. 801(d)(2); United

States v. Williams, 445 F.3d 724, 735 (4th Cir. 2006); United States v. Beltre, 188 F.3d 503 (4th

Cir. 1999); Walden v. Seaworld Parks & Ent., Inc., 2012 WL 4050176, at *2 (E.D. Va. May 31,

2012) (reflecting that statements by a party opponent are expressly excluded from the definition

of hearsay and are admissible against the party that made the statement). A statement or admission

is admissible against the party who made the statement or admission, including both the United

States and the Department of Justice. See, e.g., United States v. Morgan, 581 F.2d 933, 937 n.10

(D.C. Cir. 1978) (holding that “the Federal Rules clearly contemplate that the federal government

is a party-opponent of the defendant in criminal cases”); United States v. Kattar, 804 F.2d 118,

131 (1st Cir. 1988); United States v. Ravenell, No. CV 1:19-CR-0449, 2021 WL 5882916, at *1

(D. Md. Dec. 10, 2021) (recognizing that a defendant is a party-opponent to the United States).

Specifically, statements made by government officials on matters within the scope of their



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employment are admissible against the United States. See, e.g., United States v. Barile, 286 F.3d

749, 758 (4th Cir. 2002). This rule protects the integrity of the judicial system by holding parties

accountable for statements and admissions they have adopted. See Fed. R. Evid. 801(d)(2). See

also United States v. GAF Corp., 928 F.2d 1253, 1259 (2d Cir. 1991) (noting that to allow

otherwise would invite abuse and sharp practice but would also weaken confidence in the justice

system by denying the function of trials as truth-seeking proceedings).

       Finally, Federal Rule of Evidence 803(8) creates an exception to the rule against hearsay

that allows statements of a public office, like the official training materials and guidance at issue

here, to be admitted. See Fed. R. Evid. 803(8).

       Here, the proffered evidence is relevant to the core issues before the jury. And it would be

disingenuous for the Special Counsel to try to persuade the jury that Mr. Danchenko’s answers to

the Government’s specific and targeted questions required him to volunteer information or

evidence that was not asked of him. The Department of Justice has adopted and publicized multiple

statements in official training materials and guidance advising that a witness should only answer

the specific question asked and not volunteer additional information. To avoid confusion, the

United States also advises witnesses not to speculate or provide information that is beyond their

personal knowledge. Now, in a misguided effort to transform Mr. Danchenko’s literally true

answers to specific questions into false statements, the Special Counsel wants the jury to disregard

the instructions and guidance that the United States publicly endorses and provides to witnesses

about testifying and answering questions.

       That guidance contradicts the Special Counsel’s entire theory in this case, both with respect

to the answers Mr. Danchenko provided about Dolan and Millian. Indeed, in defending against

Mr. Danchenko’s motion to dismiss the Indictment, the Special Counsel argued that when the FBI



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asked Mr. Danchenko whether he “talked” to Dolan, he had an obligation to volunteer unrequested

information, such as email correspondence with Dolan, even though Mr. Danchenko truthfully

answered the specific and unambiguous questions the agents asked him. Mr. Danchenko gave

truthful answers based on his knowledge and understanding and did not inject speculation or

conjecture beyond what the agents asked and what he knew based upon his own personal

experience. Moreover, with regard to Millian, the FBI was aware that Mr. Danchenko received a

phone call from an anonymous caller who never identified himself. Contrary to the government’s

own instructions to witnesses, the FBI agents encouraged and allowed Mr. Danchenko to speculate

about who he believed was the anonymous caller and why. Based on the context and timing of

the phone call, Mr. Danchenko explained that he suspected, but was not sure, that the anonymous

caller was Millian. Thus, the government engaged Mr. Danchenko in the very same practice it

proactively discourages witnesses from engaging in.

       The public statements by the Government are not hearsay because Mr. Danchenko does

not offer them to prove their truth and because they are statements made and adopted by a party-

opponent. Alternatively, the statements qualify under the public records exception to the rule

against hearsay. Accordingly, the evidentiary rules operate to allow Mr. Danchenko to proffer

these statements against the Government to contradict and argue against the tenuous prosecutorial

theory proffered by the Special Counsel.




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                                       CONCLUSION

       Based on the foregoing, Defendant Igor Danchenko respectfully requests that this Court

permit Mr. Danchenko to admit certain published statements by the United States regarding

official guidance and training the United States provides to witnesses about how to testify and

answer questions.

Dated: October 3, 2022                     Respectfully submitted,


                                                   /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2022, I electronically filed a true and accurate copy of

the foregoing motion with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all parties.


                                                       /s/
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